                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                   AT KANSAS CITY

 BILLIE RODRIGUEZ, DANIEL ERWIN,                      )
 MICHAEL B. ACKERMAN, and KYLE                        )
 FOREMAN, individually and on behalf of all           )
 other similarly situated,                            )
                                                      )
         Plaintiffs,                                  )
                                                      )
 v.                                                   )   Case No. 4:24-cv-00803-SRB
                                                      )
 EXXON MOBILE CORPORATION,                            )
 CHEVRON USA INC., CHEVRON PHILLIPS                   )
 CHEMICAL CORPORATION, DUPONT de                      )
 NEMOURS INC., DUPONT CORPORATION,                    )
 CELANESE CORPORATION, DOW INC.,                      )
 DOW CHEMICAL COMPANY, EASTMAN                        )
 CHEMICAL COMPANY,                                    )
 LYONDELLBASELL INDUSTRIES N.V., and                  )
 AMERICAN CHEMISTRY COUNCIL,                          )
                                                      )
         Defendants.                                  )

      CONSENT MOTION TO EXTEND DEFENDANT CELANESE CORPORATION’S
       TIME TO ANSWER, RESPOND OR OTHERWISE PLEAD TO PLAINTIFFS’
                 COMPLAINT AND SUGGESTIONS IN SUPPORT

        Defendant Celanese Corporation respectfully requests that the Court enter an order

extending the deadline for Celanese to respond to plaintiffs’ complaint to February 10, 2025. As

discussed further in the Suggestions in Support of this motion, which are incorporated by reference

and set forth below, counsel for plaintiffs has consented to the relief requested in this motion.

                                 SUGGESTIONS IN SUPPORT

        In support of this motion, Celanese states as follows:

        1.      Plaintiffs’ counsel agreed to the proposed extension in a January 6, 2025 email.

        2.      Celanese was served on December 23, 2024. Its deadline to respond is January 13,

2025. The consented 28-day extension would extend the response date to February 10, 2025.




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       3.      Plaintiffs’ complaint contains 45 counts against nearly a dozen defendants, alleges

two putative nationwide classes and 35 putative state classes, avers at least 45 different legal

theories, and is 92 pages long. (Doc. #1.) Due to the timing of service, a few days prior to

commencement of the Chanukah, Christmas, Kwanza, and New Year holidays, and the complexity

of plaintiffs’ complaint, Celanese has requested additional time to prepare its response.

       5.      Upon information and belief, not all defendants have been served. During the

proposed extension period, other defendants may be served. After all defendants are served and

appear, the parties may be able to coordinate joint briefing, response dates and briefing schedules.

       6.      As of this filing, Celanese’s time to respond to plaintiffs’ complaint has not expired.

       7.      This Consent Motion is not filed for purposes of delay, but rather in a good faith

effort to extend the current responsive pleading deadline in light of the impact of the holidays, and

the complexity of plaintiffs’ complaint and these factors’ impact on Celanese’s time to prepare its

motion to dismiss.

       WHEREFORE, the parties respectfully pray that the Court enter an order granting the relief

requested in this motion, extending Celanese Corporation’s time to respond to plaintiff’s complaint

for a period of twenty-eight days up to and including February 10, 2025.




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Dated: January 9, 2025              Respectfully submitted,

                                    THOMPSON COBURN LLP

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                                       - AND -

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                                    Attorneys for Defendant Celanese Corporation




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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 9, 2025, the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system to all counsel of
record.


                                              /s/ Booker T. Shaw




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